Case: 5:17-cv-00173-CHB-EBA Doc #: 76 Filed: 06/07/18 Page: 1 of 1 - Page ID#: 975



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       LEXINGTON

 CIVIL ACTION NO. 5:17-CV-173

 LARRY G. PHILPOT,                                                                  PLAINTIFF,

 V.                                           ORDER

 LM COMMC’N II OF S.C., INC.                                                     DEFENDANT.

                                           *** *** *** ***

        In accord with Judge Boom’s Minute Entry Order, [R. 74], counsel for plaintiff has requested

 a settlement conference before the undersigned. This Court, having fully considered the matter, and

 being duly and sufficiently advised,

        IT IS ORDERED that this matter shall come before the undersigned for a telephone

 conference for purposes of scheduling a settlement conference on MONDAY, JUNE 11, 2018, AT

 THE HOUR OF 2:00 P.M. The call may be accessed by calling AT&T Teleconferencing at 1-877-

 336-1839; entering the access code 4162817 (followed by #); and, on request, entering the security

 code 0173 (followed by #).

        This the 7th day of June, 2018. 




         




                                               1 of 1
  
